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               IN THE UNITED STATES DISTRICT COURT FOR THE

                        WESTERN DISTRICT OF OKLAHOMA

RAMELLE MEADOWS,                              )
                                              )
                            Plaintiff,        )
                                              )
vs.                                           )   Case Number CIV-20-530-C
                                              )
THE CITY OF THE VILLAGE,                      )
OKLAHOMA; LT. RYAN JACOBSON,                  )
in his individual capacity as City of the     )
Village Police Officer; and CPL. MARK         )
SWARTZBAUGH, in his individual                )
Capacity as City of the Village Police        )
Officer,                                      )
                                              )
                            Defendants.       )

                                         JUDGMENT

       Upon consideration of the pleadings herein, the Court finds that Defendants’

Motion for Summary Judgment should be granted, and judgment is therefore entered on

behalf of all Defendants and against Plaintiff.

       DATED this 3rd day of November 2021.
